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       1
           6                                                1RES I

                                UNITED STATES BANKRUPTCY COURT
                                                                             FLED
                                                                           DEC 172019
                                                                     UNITED STATES BANKRUPTCY COURT
       2                        EASTERN DISTRICT OF CALIFORNIA

       3
           In re:                                    Case No. 14-30986-B-7
       4
           RUDOLF SIENEGA,                           Adversary No. 18-2191
       5
                                                     DC Nos. CDR-2
       6                      Debtor(s).                     RLG-2
                                                                                  II

       7
           STATE OF CALIFORNIA FRANCHISE
       8   TAX BOARD,

       9
                            Plaintiff (s)
      10

      11
           RUDOLF SIENEGA,
      12

      13                    Defendant(s)

      14

      15     MEMORANDUM DECISION ON PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
                    AND DEFENDANT'S CROSS-MOTION FOR SUMMARY JUDGMENT
      16

      17
           Introduction
      18
                 The court has before it two motions for summary judgment.
      19
           One motion is filed by plaintiff State of California Franchise
      20
           Tax Board. The other is a cross-motion filed by defendant Rudolf
      21
           Sienega. For the reasons explained below, plaintiff's motion for
      22
           summary judgment will be granted and defendant's cross-motion for
      23
           summary judgment will be denied as moot.
      24

      25
           Jurisdiction and Venue
      26
                    Federal subject matter jurisdiction is founded on 28 U.S.C.
      27
           § 1334. This adversary proceeding involves core matters under 28
      28
           U.S.C. §§ 157(b) (2) (A) , (I), and (0) . Plaintiff consents to the
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       1   entry of a final judgment by a bankruptcy judge under 28 U.S.C. §

       2   157(c) (2). Docket 1 at ¶ 3. By filing a cross-motion for

       3   summary judgment, so too does the defendant to the extent consent

       41 is necessary. True Traditions, LC v. Wu, 552 B.R. 826, 839 (N.D.
       SI cal. 2015) (request for entry of final judgment on summary
       6   judgment motion is implied consent); see also Haley v. Barclays

       7   Bank Del. (In re carter), 506 B.R. 83, 88 (Bankr. D. Ariz. 2014)

       8   (finding that a summary judgment movant waived Stern objection to

       9   the court's constitutional authority and commenting that "it is

      10   difficult to understand how both the objection to final judgment

      11   and the request for entry of final judgment could have been filed

      12   in compliance with Rule 9011(b) .")

      13         This adversary proceeding arises from the above-captioned

      14   Chapter 7 case. Venue is proper under 28 U.S.C. § 1409.

      15

      16   Backci round

      17         Plaintiff filed a motion f or summary judgment on October 11,

      18   2019, Docket 24, and with it a statement of undsiputed facts.

      19   Docket 26. Defendant opposed plaintiff's motion (mislabeled as a

      20   reply) on November 8, 2019. Docket 43. However, defendant did

      21   not specifically challenge - and therefore did not dispute -

      22   plaintiff's undisputed facts. For example, defendant did not

      23   reproduce plaintiff's statement of undisputed facts and admit

      24   those facts which are undisputed and deny those facts which are

      25   disputed.      Nor did defendant file a concise statement of disputed

      26   facts citing to parts of the record which establish a genuine

      27   factual dispute in plaintiff's motion. Plaintiff replied to

      28   defendant's opposition on December 3, 2019. Docket 47.

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       1         Defendant also filed his own motion for summary judgment-

       2   effectively a cross-motion for summary judgment - on October 11,

       3 2019, Docket 32, and with it a statement of undisputed facts.

       4   Docket 34. Plaintiff opposed defendant's motion on November 8,

       5   2019. Docket 41. Plaintiff also specifically challenged - and

       6   therefore disputed - defendant's undisputed facts. Docket 42.

       7   Defendant replied to plaintiff's opposition on December 3, 2019.

       8 Docket 48.
       9
      10 Legal Standard
      11         Federal Rule of Civil Procedure ("Civil Rule) 56 -

      12   applicable by Federal Rule of Bankruptcy Procedure ("Bankruptcy

      13   Rule") 7056 - permits the court to grant summary judgment if the

      14   moving party shows there is no genuine dispute as to any material

      15   fact and the moving party is entitled to judgment as a matter of

      16   law. Fed. R. Civ. P. 56(a); Fed. R. Bankr. P. 7056.

      17         A motion for summary judgment calls for a "threshold

      18   inquiry" into whether a trial is necessary, that is, whether

      19 there are "any genuine factual issues that properly can be

      20   resolved only by a finder of fact because they may reasonably be

      21   resolved in favor of either party." Anderson v. Liberty Lobby,

      22   Inc., 477 U.S. 242, 250 (1986) . The court does not weigh

      23   evidence or assess credibility; rather, it determines which facts

      24   are not disputed then draws all inferences and views all evidence

      25   in the light most favorable to the nonmoving party. See id. at

      26   255; Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

      27   574, 587-88 (1986) . "Where the record taken as a whole could not

      28   lead a rational trier of fact to find for the non-moving party,

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       1       there is no 'genuine issue for trial.'" Matsushita, 475 U.S. at

       21 587. An issue is genuine if there is enough evidence for a trier

       3       of fact to make a finding in favor of the nonmoving party, and an

       4       issue is material if it might legally affect the outcome of the

       5       case. Far Out Prods., Inc. v. Oskar, 247 F.3d 986, 992 (9th Cir.

       6       2001) (citing Anderson, 477 U.S. at 248-49)

       7            When the party moving for summary judgment would bear
                    the burden of proof at trial, it must come forward with
       8            evidence which would entitle it to a directed verdict
                    if the evidence went uncontroverted at trial. In such
       9            a case, the moving party has the initial burden of
                    establishing the absence of a genuine issue of fact on
      10            each issue material to its case. Once the moving party
                    comes forward with sufficient evidence, the burden then
      11            moves to the opposing party, who must present
                    significant probative evidence tending to support its
      12            claim or defense. A motion for summary judgment may
                    not be defeated, however, by evidence that is merely
      13            colorable or is not significantly probative.

      14       C.A.R. Transp. Brokerage Co. v. Darden Restaurants, Inc., 213

      15       F.3d 474, 480 (9th Cir. 2000) (citations, internal quotations

      16       omitted)
      17

      18       Discussion

      19            The above-referenced summary judgment standard illustrates

      20       that the presence or absence of a genuine dispute of material

      21       facts - as identified by the parties - lies at the very core of

      22       the summary judgment process. It is therefore critical that,

      23       when responding to a motion for summary judgment, the non-moving

      24       party specifically challenge the moving party's undisputed facts.

      25       See Fed. R. Civ. P. 56(c); Fed. R. Bankr. P. 7056.

      26            The court's local rules recognize the importance of

      27       disputing the moving party's undisputed facts. They instruct the

      28   I   non-moving party to "reproduce the itemized facts in the
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       1       Statement of Undisputed Facts and admit those facts which are

       2       undisputed and deny those which are disputed" and/or "file a

       3       Concise Statement of Disputed Facts" in response to a summary

       4       judgment motion. See Local Bankr. R. 7056-1(c). More important,

       5       the United States Supreme Court has explained that a party

       6       opposing summary judgment who "fail[s] specifically to challenge

       7       the facts identified in the [moving party's] statement of

       8       undisputed facts . . . is deemed to have admitted the validity of

       9       [those]   facts[.]".   Beard v. Banks,   548 U.S. 521, 527 (2006).

      10             Beard arose in a summary judgment context nearly identical

      11       to the posture of this adversary proceeding.       Id. at 525. The

      12       defendant in Beard moved for summary judgment and with its motion

      13       filed a statement of undisputed facts. Id. at 527. Plaintiff,

      14       as the non-moving party, failed to challenge defendant's

      15       undisputed facts but filed a cross-motion f or summary judgment

      16       with supporting documents. Id. Noting the absence of a specific

      17       challenge to the defendant's undisputed facts, and recognizing

      18 I that the cross-motion did not suffice, the Supreme Court deemed

      WE defendant's undisputed facts admitted by the plaintiff and
      20       established for purposes of defendant's summary judgment motion.

      21 II-     -




      22             As they are obligated to do, courts in the Ninth Circuit

      23       follow Beard. For example, in Moon v. Rush, 69 F. Supp. 3d 1035,

      24       1039-40 (E.D. Cal. 2014), the district court cited Beard f or the

      25       proposition that the non-moving party's failure to dispute the

      26       moving party's undisputed facts in a manner required by a local

      27       district court rule nearly identical to the local bankruptcy

      28   I   court rule permits the district court to deem the moving party's

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       1   undisputed facts admitted. And in Baroni v. NationStar Mortgage,

       2   Inc. (In re Baroni), 2015 WL 6956664,     *6 (9th Cir. BAP 2015),

       3   citing Beard, the Ninth Circuit Bankruptcy Appellate Panel

       4   stated: "Once the moving party has presented facts as undisputed

       5   and has presented admissible evidence in support of those facts,

       6   the non-moving party may be deemed to have admitted those facts

       7   for summary judgment purposes unless he or she specifically

       8   challenges those facts and presents controverting evidence in

           support of his or her position." Beard is equally applicable

      10   here.
      11           As stated above, defendant failed to specifically challenge

      12   - and therefore did not dispute - plaintiff's undisputed facts.

      13   Defendant filed an opposition to plaintiff's summary judgment

      14   motion and a cross-motion for summary judgment. However, the

      15   opposition consists of legal argument based on plaintiff's

      16   undisputed facts and, as the Supreme Court recognized in Beard,

      17   the defendant's cross-motion and documents filed with it are not

      18   a specific challenge to the plaintiff's undisputed facts. 1

      19
      20        'The court recognizes that defendant filed a statement of
           undisputed facts with his cross-motion for summary judgment.
      21   However, nothing in Civil Rule 56, Bankruptcy Rule 7056, or Local
           Bankruptcy Rule 7056-1 authorizes or permits the non-moving party
      22   to file its own separate statement of undisputed facts in
      23   response to a moving party's statement of undisputed facts. See
           United States v. Center for Employment Training, 2019 WL 424189,
      24   *4 (E.D. Cal. 2019) (striking nonmoving party's statement of
           undisputed facts in response to motion for summary judgment as
      25   procedurally improper and unauthorized under nearly identical
           local district court rule); Operating Engineers Health & Welfare
      26   Trust Fund v. The Mega Life & Health Ins. Co., 2003 WL 22416395,
      27   *8 (N.D. Cal. 2003) (holding that additional separate statement
           of undisputed facts in response to summary judgment motion not
      28   permitted and striking same).

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       1   Therefore, the court deems all of plaintiff's undisputed facts

       2   stated in Docket 26 admitted by the defendant for purposes of

       3   plaintiff's summary judgment motion. And based on those

       4   undisputed (and deemed admitted) facts, plaintiff is entitled to

       5   judgment in its favor f or the reasons articulated in Dockets 24,

       6   30, and 472

       7

       8   Conclusion

       9         Based on the foregoing,

      10             the plaintiff's motion for summary judgment will be

      11   granted, and judgment will be entered for plaintiff and against

      12   defendant, and the state income tax that defendant owes plaintiff

      13    for 1990, 1991, 1992, and 1996 - with any interest and penalties

      14 I thereon - will not be discharged in defendant's Chapter 7 case;
      15             the defendant's cross-motion for summary judgment will

      16   I be denied as moot; and
      17             the hearing set on December 17, 2019, at 9:30 a.m. will

      18 I be vacated.
      19         A separate order and judgment will issue.

      20         Dated: December 17, 2019.

      21
                                                              /
                                             UNITED STATES BANRUPTCY JUDGE
      22

      23
      24          2 The court notes that in a recent case in which California
            state tax returns were filed, the United States Bankruptcy Court
      25    for the Northern District of California agreed with plaintiff's
      26    position that state taxes are not discharged under 11 U.S.C.
            523(a) unless the debtor files required reports in addition to
      27    state tax returns. In re Stapley, 2019 WL 5588822, *13,         B.R.
                 (Bankr. N.D. Cal. Oct. 29, 2019) (citing and following State
      28    of Maryland v. Ciotti (In re Ciotti), 638 F.3d 276 (4th Cir.
            2011) .
                 )




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